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 2
 3                          UNITED STATES DISTRICT COURT
 4                                 DISTRICT OF NEVADA
 5
 6   UNITED STATES OF AMERICA,           )
                                         )
 7                                       ) No. 2:07-CR-00039-JLQ
                         Plaintiff,      )
 8                                       ) ORDER
               vs.                       )
 9                                       )
     HOWARD AWAND,                       )
10                                       )
                         Defendant.      )
11   ___________________________________ )
12         Pursuant to the unopposed Motion of the Defendant filed this date, the four (4)
13   month custody sentence imposed by the undersigned on Howard Awand, shall be served
14   immediately with retroactive credit to August 30, 2010.
15         The Clerk shall enter this Order and furnish copies to counsel, the United States
16   Probation office, and the United States Bureau of Prisons.
17         Dated this 17th day of September, 2010.
18                             s/ Justin L. Quackenbush
                             JUSTIN L. QUACKENBUSH
19                     SENIOR UNITED STATES DISTRICT JUDGE
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28   ORDER - 1
